      Appellate Case: 22-1409     Document: 24      Date Filed: 12/14/2022     Page: 1
                                                                                     FILED
                                                                         United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                            Tenth Circuit

                             FOR THE TENTH CIRCUIT                            December 14, 2022
                         _________________________________
                                                                             Christopher M. Wolpert
                                                                                 Clerk of Court
 ALEJANDRO MENOCAL, et al.,

        Plaintiffs - Appellees,

 v.                                                            No. 22-1409
                                                   (D.C. No. 1:14-CV-02887-JLK-MEH)
 THE GEO GROUP, INC.,                                           (D. Colo.)

        Defendant - Appellant.
                       _________________________________

                                      ORDER
                         _________________________________

        Appellees’ Motion to Dismiss for Lack of Jurisdiction, Appellant’s Opposition

thereto, and any reply that may be filed by Appellees, are referred to the panel of judges

that will be assigned to decide the appeal on the merits. No ruling on jurisdiction will

issue at this time.

        Appellant’s opening brief and appendix are due within 40 days from the date of

this order.


                                              Entered for the Court



                                              CHRISTOPHER M. WOLPERT, Clerk
